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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
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PELIX ORIAKHI, WILLIAM T. WALSH
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Plaintiff,
Vv. Civil No.
UNITED STATES OF AMERICA,
Respondent.
x

MOTION FOR WRIT OF MANDAMUS
FOR THE RETURN OF PROPERTY

Introduction:

The plaintiff in the above named'case is a federal prisoner
who appears before this Court to request of a writ of mandamus
to compel the return of his property items.

Jurisdiction:

The district court has jurisdiction pursuant to §1361 28
U.S.C. and §1331 28 U.S.C., Administrative Procedure Act 5 U.S.C.
§§701-706 (1988).

Argument:

In Mitchell v. United States, 419 F. Supp. zd /09, 7ii (\W.D.

Pa. 2005), the court held that "[t]he district courts shall have
original jurisdiction of any action in the nature of mandamus

to compel an officer or employee of the United States or any agency
thereof to perform a duty owed to the plaintiff." See also, Coombs

v. Staff Attorneys of Third Circuit, 168 F. Supp. 2d 432, 435

(E.D.Pa. 2001), In re Patenaude, 210 F.3d 135, 140 (3rd Cir. 2000)3

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In re Roberts, 178 F.3d 181, 183 (3rd Cir. 1999).

ADMINISTRATIVE PROCEDURE ACT (APA)

In Montgomery v. Scott, 802 F. Supp 930, 933 (W.D.N.Y. 1992),

the court held that the United States waive sovereign immunity
to action for return of property through the Administrative Procedure
Act ("APA") 5 U.S.C. §702, which provides as follows:

"A person suffering legal wrong because of agency
action within the meaning of a relevant statute,
is entitled to judicial relief thereof. An action
in a court of the United States seeking other
than money damages and stating a claim that an
agency or an officer ér employee thereof acted
or failed to act in an official capacity or under
color of legal authority shall not be dismissed
nor relief therein be denied on the ground that
the United States is an indispensable party. The
United States may be named as a defendant in any
such action, and a judgment or decree may be
entered against the United States.”

See, also Soler v. Sott, 192 F.3d 374, 376 (3rd Cir. 1999), the

court held that a person aggrieved by the deprivation of property
may file a motion to request the return of that property. In
addition, the court concluded that the person from whom the property
was seized is presumed to have a right to its return, and the
government must demonstrate that it has a legitimate reason to

retain the property.
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See, aise United States v. $5,850, 40: U.S. S55, 264 (A498 Sb CRT in
SSB SE ORs

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Amendment Right against deprivation of property without due process

of law); Harris v. Lockhart, 729 F. Supp 650 (E.D.Ark. 1989).

PROPERTY DEPRIVATION:

Plaintiff alleges that prison officials confiscated plaintiff's
property items which included a book, tittled "Good Orgasm Guide"

and a Gym Bag. The book order was confiscated on or about
November 2005. And the Gym bag was confiscated on or about May
16, 2005. [Administrative Remedy was exhausted pursuant to 1997e(a)].
Further, plaintiff's attempts to have the seized items from
the prison officials resulted in plaintiff's loss of an additional
$350.00, plus other expenses. Plaintift alleges that as a result
of the prison officials action, plaintiff has lost a total expenses
of about $500.00, which includes, cost paid for the book, shipping
and handling, cost for the gym bag, filing fee cost in an FTCA
Claims, cost paid for stationaries such as typing wheel, ribbon,
correction tape, stamps, copying cost, and etc.
Plaintiff alleges that the prison officials are recognized

as law enforcement agent that subject them to the jurisdiction

of this Court as stated abcve. See, Ali v. Federal Bureau of

Prisons, 169 LED 2d 680 (2008).

STATUTE OF LIMITATIONS:

In Santana v. United States Customs Service, 972 F.Supp 304,

305 (MD.Pa. 1997), the court held that 19 U.S.C. §1621 governs
the limitation period for actions involving forfeiture. Section
1621 provides that an action for forfeiture must be commenced

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within five years after the time when tne Alleged of fenss was
discovered.

Therefore, the plaintiff alleges that no ‘forfeiture notice
involving the property items that were seized has been served
upon till date.

Plaintiff alleges that this action to request for the return
of property is timely, since it commences within six years after

the incident involving the seizure. See, United STates v. Giovanelli,

998 F.2d 119 (2nd Cir. 1993).
RELIEF:

WHEREFORE, plaintiff moves this Honorable Court to issue
the writ of mandamus directing prison ‘officials to return the
seized property items and the cost associated with the property
or alternatively pay an equivallent cost of the items and the
associated cost if the property cannot be located or found by
Defendant.

CONCLUSION:

For the reason[s] stated relief be granted.

ch :

Respectfully submitted on this’ day of April 20171.

By: Aux (QLeefel

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PROOF OF SERVICE

I certify that on O4-°5- 1) (date) | mailed a copy of this brief and all
attachments via first class mail to the following parties at the addresses listed below:

John Andrew Ruymann

Office of the U.S. Attorney
402 East State Street
Trenton, NJ 08608.

PROOF OF SERVICE FOR INSTITUTIONALIZED OR
INCARCERATED LITIGANTS

In addition to the above proof of service all litigants who are currently
institutionalized or incarcerated should include the following statement on ali documents
to be filed with this Court:

fl
i certify that this document was given to prison officials ond ~b5- (date)
for forwarding to the Court | certify under penalty of perjury that the
foregoing is true and correct. 28 U.S.C. 81746.

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Signature

Dated: o4-ve~ [|

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